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                                                                            FILED
                                                                              JUN 15 2017
                  IN THE UNITED STATES DISTRICT COURT                      Clerk, U S District Court
                                                                              District Of Montana
                      FOR THE DISTRICT OF MONTANA                                   Missoula
                           MISSOULA DIVISION

UNITED STATES OF AMERICA,                             CR 17--09-M-DLC-4

                      Plaintiff,
                                                             ORDER
        vs.

 LEANN REGAN DONTIGNY,

                      Defendant.


      THIS MATTER comes before the Court on the United States' Motion for

Preliminary Order of Forfeiture. The Court having read said motion and being

fully advised in the premises finds:

      THAT the United States and the Defendant, LEANN REGAN DONTIGNY,

entered into a plea agreement that provides a factual basis and cause to issue a

forfeiture order under 21 U.S.C. § 853;

      THAT prior to the disposition of the assets, the United States Marshal's

Service, or its designated sub-custodian, is required to seize the forfeited property;

and

      THAT 21 U.S.C. § 853(n)(l) requires that third parties who may have an


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interest in the property receive notice, via publication, or to the extent practical,

direct written notice of the forfeiture and the United States' intent to dispose of the

property.

      THEREFORE, IT IS ORDERED, DECREED AND ADJUDGED:

      THAT the Defendant, LEANN REGAN DONTIGNY'S, interest in any real

or personal property derived from any proceeds obtained, directly and indirectly,

as a result of the violation of the Superseding Information, and any property

traceable to such property, is forfeited to the United States in accordance with 21

U.S.C. § 853. That property consists specifically of the following:

      •       A Winchester model 1906 .22 caliber rifle bearing serial number
              410963B;

      •       A Hipoint semi auto .380 caliber handgun bearing serial number
              P8066124;and

      •        $575.00 in United States Currency;

      THAT the United States Department Marshal's Service, or its designated

sub-custodian, is directed to seize the property subject to forfeiture and further to

make a return as provided by law;

      THAT the United States will provide written notice to all third parties

asserting a legal interest in any of the above-described property and will post on

an official government internet site (www.forfeiture.gov) for at least 30

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consecutive days as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for

Admiralty or Maritime Claims and Asset Forfeiture Actions, notice of the Court's

Preliminary Order and the United States' intent to dispose of the property in such

manner as the Attorney General of the United States may direct, pursuant to 21

U.S.C. § 853(n)(l), and to make its return to this Court that such action has been

completed; and

      THAT upon adjudication of all third-party interests, if any, the Court will

enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n)(7) and

Fed. R. Crim. P. 32.2(c)(2), in which all interests will be addressed.

      DATED this I    5~ay of June, 2017.


                                       Dana L. Christensen, Chief Judge
                                       United States District Court




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